            Case 4:11-cv-40036-FDS Document 4 Filed 05/18/11 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                :
Daniel O'Brien,                                 :
                                                :      Civil Action No.: 4:11-cv-40036-FDS
                      Plaintiff,                :
       v.                                       :
                                                :
Conserve; and DOES 1-10, inclusive,             :
                                                :
                      Defendant.                :
                                                :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Daniel O'Brien (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: May 18, 2011

                                                    Respectfully submitted,

                                                    By: /s/ Sergei Lemberg

                                                         Sergei Lemberg, Esq.
                                                         BBO No.: 650671
                                                         Lemberg & Associates L.L.C.
                                                         1100 Summer Street, 3rd Floor
                                                         Stamford, CT 06905
                                                         Telephone: (203) 653-2250
                                                         Facsimile: (877) 795-3666
                                                         Attorneys for Plaintiffs
          Case 4:11-cv-40036-FDS Document 4 Filed 05/18/11 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2011, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Sergei Lemberg_________

                                                 Sergei Lemberg
